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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 KALSHIEX LLC,

        Plaintiff,                                 Civil Action No. 23-3257 (JMC)

        v.

 COMMODITY FUTURES TRADING
 COMMISSION,

        Defendant.

                                            ORDER
       For the reasons stated in the Court’s forthcoming memorandum opinion, the Court

GRANTS Plaintiff’s motion for summary judgment, ECF 17, and DENIES Defendant’s cross-

motion for summary judgment, ECF 30. Defendant’s September 22, 2023 order prohibiting

Plaintiff from listing its congressional control contracts for trading is hereby VACATED.


       This is a final appealable order.


       SO ORDERED.

                                                     __________________________
                                                     JIA M. COBB
                                                     United States District Judge


Date: September 6, 2024




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